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IN THE UNITED STATES DISTRICT COURT§E&LE

FOR THE WESTERN DISTRICT OF WISCONSI

 

` UNITED STATES OF AMERICA
v. Case No. l5-M]-21
_ SALLY IRIRI,

Defendant.

 

COMPLAINT FOR VIOLATION OF TITLE 18, UNITEl) STATES CODE,

 

SECTIONS 1343 & 2
BEFORE United States Magistrate ]udge United States District Court
Stephen L. Crocker 120 North Henry Street

Madison, Wisconsin 53703
The undersigned complainant being duly sworn states:

1. During the period beginning in or about October 2013 and continuing to

 

in or about March 15, 2015, in the Western District of Wisconsin and elsewhere, the
defendant, n
SALLY IRIRI,

along with other individuals known and unknown, devised and intended to devise a
scheme to defraud and to obtain property by means of materially false and fraudulent
pretenses, representations and promises, knowing that said material pretenses, v
representations and promises Would be false and Were false when made.

2. As part of the scheme to defraud, IRIRI and others targeted victims by

creating fal<e profiles on legitimate internet dating services. Once in With contact

 

 

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victims, IRIRI and others expressed strong romantic emotions for victims, thereby
gaining their trust. IRIRI and others also told victims that they were planning to move
to be With the victims.

3. It was further part of the scheme to defraud that, after gaining the victims'
trust, IRIRI and others defrauded the victims out of money in a variety of ways,
including getting victims to pay so called ”inheritance taxes” on non-existent
inheritances, and getting victims to send money in exchange for checks, which were
fraudulent

4. lt was further part of the scheme to defraud that, at the direction of IRIRI
and others, each of the victims Wire transferred money into a Bank of America bank
account in IRIRI’s name.

5. For the purpose of executing and attempting to execute the above
described scheme, on or'about the dates indicated below, in the Western District of
Wisconsin, the defendant,

sALLY IRIRI,
knowingly caused writings, signs and signals, consisting of wire money transfers, in the
amounts indicated, to be transmitted by means of interstate wire communications
between Wisconsin and New York, more specifically from Victim ].W.’s Wells Fargo
bank account in Park Falls, Wisconsin, to defendant IRlRI's bank account at Bank of

America in New York, NeW York.

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Q_oMt D_at§ Amount
1 ]anuary 3, 2014 $ 8,300
2 ]anuary 6, 2014 $10,87 5
3 \ ]anuary 7, 2014 $ 4,240
(All in violation of Title 18, United States Code, Sections 1343 & 2).
This complaint is based on the attached affidavit of Special Agent Nathan
Cravatta.

m%x/

Nathar(` /Cravatta

Special Agent

Bureau of Homeland Security, Bureau of
Immigration and Customs Enforcement

Sworn to before me this 30 day of March 2015

HONORABLE STEPHEN L. CROCKER
United States Magistrate ]udge

 

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